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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

v.                                                                 3:22-cr-115 (BKS)

JOSEPH MORELLI,

                                     Defendant.


Appearances:

For the United States of America:
Carla B. Freedman
United States Attorney
Richard R. Southwick
Assistant United States Attorney
100 South Clinton Street
Syracuse, New York 13261

For Defendant Joseph Morelli:
Lisa A. Peebles
Federal Public Defender
Gabrielle DiBella
Assistant Federal Public Defender
4 Clinton Square, 3rd Floor
Syracuse, NY 13202

Hon. Brenda K. Sannes, Chief United States District Judge:

                        MEMORANDUM-DECISION AND ORDER

I.     INTRODUCTION

       Defendant Joseph Morelli was charged with three counts of transmitting interstate

threatening communications to the office of a member of the United States House of

Representatives in violation of 18 U.S.C. § 875(c). (Dkt. No. 21.) On February 1, 2023,

Defendant pleaded guilty to those three counts. On September 5, 2023, Defendant was sentenced

to imprisonment for a term of three months on each count to be served concurrently, followed by
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supervised release for a term of three years on each count to be served concurrently. (Dkt.

No. 72.) The Presentence Report indicated that the target of Defendant’s offenses,

Congresswoman Marjorie Taylor Greene, is seeking restitution. (Dkt. No. 68, at 36.) The

Government and Defendant filed briefing responsive to the issue of restitution. (Dkt. Nos. 62, 64,

65.) After reviewing this briefing, the Court found that the record was insufficient to determine

whether the offenses of conviction directly and proximately caused the harm for which

restitution was sought. (Dkt. No. 70.) At sentencing, the Court deferred ordering restitution

pending further information from counsel. The Government and Defendant subsequently filed

supplemental briefing on the issue. (Dkt. Nos. 76, 79.) On November 2, 2023, the Court held an

evidentiary restitution hearing at which the Government and Defendant presented witnesses.

Based on the following findings of fact and conclusions of law, the request for restitution is

denied.

II.       FACTS

          The Court makes the following findings of fact based on witness testimony given and

exhibits admitted at the November 2, 2023 hearing, (Dkt. Nos. 90, 91), the parties’ submissions,

(Dkt. Nos. 62, 64, 65, 76, 79), and documents in the record. 1 At the hearing, the Court heard the

testimony of Barry Travis Loudermilk, District Director for Congresswoman Greene, and John

O’Brien, Investigator for the Office of the Federal Public Defender for the Northern District of

New York. To the extent discrepancies in testimony arose, the Court resolves those discrepancies

as set forth below.




1
 The Court notes that orders of restitution are a component of sentencing, see 18 U.S.C. § 3663A(a)(1)(A), and that
hearsay evidence may be considered during sentencing so long as it bears minimal indicia of reliability, see United
States v. Martinez, 413 F.3d 239, 244 (2d Cir. 2005).



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       A.        Procedural Background

       On March 15, 2022, proceedings against Defendant were initiated by the filing of a

criminal complaint alleging that Defendant transmitted interstate threatening communications in

violation of 18 U.S.C. § 875(c). (Dkt. No. 1, at 1.) The affidavit in support of the criminal

complaint alleged that, on March 3 and 4, 2022, Defendant left seven voicemail messages at the

Washington, D.C., office of Congresswoman Greene threatening to injure or kill her or

threatening to hire others to injure or kill her. (Id. at 3–5.) Defendant was arrested on March 16,

2022, and released on pretrial conditions on March 22, 2022. On April 6, 2022, Defendant was

indicted on three counts of transmitting interstate threatening communications in violation of 18

U.S.C. § 875(c) for voicemails left on March 3, 2022, at 11:11 p.m., 11:18 p.m., and 11:24 p.m.

(Dkt. No. 21.)

       Defendant’s trial was initially scheduled for June 13, 2022, (Dkt. No. 26), but after

multiple requests to continue, (Dkt. Nos. 27–33), trial was ultimately scheduled for February 6,

2023, (Dkt. No. 34). On February 1, 2023, Defendant pleaded guilty to the three counts in the

indictment, and Defendant remained released on conditions pending sentencing. (Text Minute

Entry dated Feb. 1, 2023.) On August 24, 2023, Defendant was sentenced to imprisonment for a

term of three months on each count to be served concurrently beginning October 2, 2023,

followed by supervised release for a term of three years on each count to be served concurrently.

(Dkt. No. 72.)

       Mr. Loudermilk, who is in charge of handling threats that Congresswoman Greene

receives by reviewing staff members’ notes about threats and referring them to the United States

Capitol Police Threat Assessment Division for investigation was contemporaneously made aware

by the Government of the progress of Defendant’s case and would inform Congresswoman

Greene of any updates. (See Dkt. No. 76, at 2.)


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       B.      Threats and Enhanced Security Measures

       At the restitution hearing, both witnesses testified as to the frequency and timing of

threats Congresswoman Greene received and the chronology of personal security measures she

undertook. Defendant presented the following social-media posts by Congresswoman Greene.

On September 23, 2020, before she took office on January 3, 2021, Congresswoman Greene

posted a threat that was made against her and her family. In a posting on January 28, 2021,

Congresswoman Greene said that she received “multiple death threats each and every day.” In a

post dated July 21, 2021, Congresswoman Greene said that “the death threats haven’t stopped

since” she was kicked “off committees.” On November 13, 2021, Congresswoman Greene wrote

that she and her staff “receive nasty calls, death threats [and] wishes all the time.” A post by

Congresswoman Greene on December 3, 2021, contained audio recordings of specific death

threats, one of which included the name and telephone number of the person making the threat.

       In January 2022, Congresswoman Greene hired a private security company, Kajor Group,

to provide personal security services. Travor Willis, the owner of Kajor Group, stated in a

conversation with Mr. O’Brien that he was aware that Congresswoman Greene received multiple

threats daily, beginning before she retained Kajor Group and continuing throughout her retention

of Kajor Group. Mr. Willis called the threats Congresswoman Greene received “action” threats,

which, he explained to Mr. O’Brien, involved people stating they were going to do something as

opposed to merely hoping that she would be injured or killed.

       Mr. Loudermilk testified that Congresswoman Greene’s staff and Capitol Police similarly

differentiated between “direct” threats, which involve a person expressing intent to do harm to

her, and “indirect” threats, which involve a person expressing hope that harm will befall

Congresswoman Greene. Mr. Loudermilk testified that the majority of threats she has received

have been indirect threats.


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       In February or March 2022, an individual knocked on the door of Congresswoman

Greene’s Georgia residence and left an unsolicited package. Kajor Group informed local police

of the incident, and local police handled the matter. Mr. Loudermilk testified that this individual

was a “superfan” of Congresswoman Greene. Around this time, on March 3, 2022, Defendant

made the voicemail threats to Congresswoman Greene’s office. Defendant was arrested on

March 16, 2022, and released on pretrial conditions on March 22, 2022; he remained released

until his prison sentence began on October 2, 2023.

       Congresswoman Greene discontinued her retention of Kajor Group in April 2022 because

it was prohibitively expensive. Soon thereafter, Mr. Loudermilk and another staff member, Jason

Boles, began traveling with Congresswoman Greene for extra protection. Around this time,

Congresswoman Greene requested full-time personal security from Capitol Police, but Capitol

Police denied her request.

       Congresswoman Greene was aware, via Mr. Loudermilk, of at least two other criminal

proceedings other than Defendant’s involving threats against her. One involved an individual in

Florida that included deportation proceedings. The other involved an individual in Colorado who

made threats against Congresswoman Greene around August 2022. Mr. Loudermilk testified that

the Colorado case involved threats made to other Representatives in addition to Congresswoman

Greene but that at the time the threats were made, he was only aware of the threats made against

Congresswoman Greene. Mr. Loudermilk also testified that he did not follow up on the status of

the Colorado case and that he was therefore unaware of any plea or sentencing in that case.

       Mr. Loudermilk testified that Congresswoman Greene’s staff began looking into whether

campaign funds could be used for personal security expenses in May or June 2022. In September

2022, Congresswoman Greene hired Echo Technologies to increase security at her Georgia




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residence by enhancing an existing security-camera system. An invoice and receipt from Echo

Technologies demonstrate that on October 5, 2022, Congresswoman Greene paid $1,375.00 to

“reposition, re-aim, and reconfigure” her closed-circuit television system. (Dkt. Nos. 64-4, 64-

5.) 2

         Congresswoman Greene’s staff concluded that campaign funds could be used for

personal security expenses around October 2022. Sometime during that month, she contacted

Bartow Fence Company about constructing a fence at her Georgia residence. Bartow Fence

visited the property and prepared an estimate for the work around October 12, 2022, and began

work on the fence in December 2022. Mr. Loudermilk testified that planning for the fence and

awaiting delivery of materials accounted for the delay between contacting Bartow Fence in

October 2022 and construction of the fence beginning in December 2022. An invoice from

Bartow Fence and a wire transfer receipt demonstrate that Congresswoman Greene paid

$65,257.49 on March 24, 2023, for materials and labor required for installation of the fence at

her Georgia residence. (Dkt. Nos. 64-2, 64-3.) The money for payments for the security-camera

system and the fence came from Congresswoman Greene’s campaign funds.

         Defendant presented additional social-media posts by Congresswoman Greene in late

2022 and early 2023. On December 12, 2022, Congresswoman Greene posted that “[e]very day,”

she “receive[s] violent threats against [her] life[,] . . . including . . . threats against [her] home in

an attempt to have [her] killed.” On February 2, 2023, she posted that “[m]ultiple people who

want to kill me have been arrested.” Congresswoman Greene did not seek restitution in any

criminal case other than Defendant’s.



2
  The costs itemized in the invoice are for labor and a “data drop,” (Dkt. No. 64-5); there is no indication that cameras
were added. The Court does not, therefore, credit Mr. Loudermilk’s testimony that Echo Technologies added cameras
to the security-camera system.



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III.    DISCUSSION

        Congresswoman Greene seeks restitution in the amount of $66,632.49, including

$65,257.49 for construction of a security fence, (Dkt. No. 64-3), and $1,375.00 for repositioning

and reconfiguration of existing security cameras, (Dkt. No. 64-5), at her private residence in

Georgia. Defendant opposes this request and argues that Defendant’s offenses were neither the

direct nor proximate cause of these costs. (Dkt. Nos. 62, 65, 79.) At the restitution hearing,

Defendant also argued that the restitution sought is not covered by the Mandatory Victims

Restitution Act of 1996 (“MVRA”), 18 U.S.C. § 3663A. The Government argues that

Defendant’s offenses were the direct and proximate cause of Congresswoman Greene’s

expenses, (Dkt. Nos. 64, 76), and at the restitution hearing, the Government argued that the

expenses incurred are covered by the MVRA.

        “[T]he purpose of restitution is essentially compensatory: to restore a victim, to the extent

money can do so, to the position he occupied before sustaining injury.” United States v.

Boccagna, 450 F.3d 107, 115 (2d Cir. 2006) (citing Hughey v. United States, 495 U.S. 411, 416

(1990)). The MVRA, 18 U.S.C. § 3663A, provides that, where a defendant is convicted of, inter

alia, any offense that is a “crime of violence” as defined in 18 U.S.C. § 16 and “in which an

identifiable victim . . . has suffered a physical injury or pecuniary loss,” the court “shall order . . .

that the defendant make restitution to the victim of the offense.” 18 U.S.C. §§ 3663A(a)(1),

(c)(1) (emphasis added). In such circumstances, the court must “order restitution to each victim

in the full amount of each victim’s losses as determined by the court and without consideration

of the economic circumstances of the defendant.” 18 U.S.C. § 3664(f)(1)(A). “However, the

award cannot ‘allow[] a victim to recover more than his due.’” United States v. Calonge, No. 20-

cr-523, 2022 WL 1805852, at *5, 2022 U.S. Dist. LEXIS 98301, at *17 (S.D.N.Y. June 1, 2022)

(quoting United States v. Qurashi, 634 F.3d 699, 703 (2d Cir. 2011)).


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        Orders of restitution under the MVRA are “issued and enforced in accordance with

section 3664.” 18 U.S.C. § 3663A(d). Under § 3664, the Government bears the burden of

demonstrating, by a preponderance of the evidence, “the amount of the loss sustained by a victim

as a result of the offense.” Id. § 3664(e); see also Goodrich, 12 F.4th at 231. Where whether a

particular loss “was ‘sustained . . . as a result’ of [an] offense” is at issue, the Government also

bears the burden of proving causation. See Goodrich, 12 F.4th at 231 (first alteration and

emphasis in original) (quoting 18 U.S.C. § 3664(e)). “The burden of demonstrating such other

matters as the court deems appropriate shall be upon the party designated by the court as justice

requires.” 18 U.S.C. § 3664(e).

        A.      Loss of Property

        At the restitution hearing, Defendant argued that the restitution sought does not fall

within any of the categories of harms for which restitution is mandatory under the MVRA. The

Government argued that the restitution sought is compensable as a pecuniary loss and cited 18

U.S.C. § 3663A(c)(1)(B) in support of that position. When questioned by the Court as to which

provision of § 3663A(b) applied to the restitution sought, the Government argued that

Congresswoman Greene expended monies in response to Defendant’s conduct and that

restitution therefore falls under § 3663A(b)(1).

        Federal courts “have no inherent authority to order restitution”; they have only the

authority provided by Congress. See United States v. Maynard, 743 F.3d 374, 379 (2d Cir. 2014).

In Maynard, the Second Circuit held that only harms that are listed in 18 U.S.C. § 3663A(b) are

compensable under the MVRA. See id. (“If Congress intended to include all harms directly and

proximately caused by a defendant’s offense, it could have done so with wording more simple

and categorical.”) As relevant here, where an “offense result[ed] in . . . loss . . . of property of a

victim of the offense,” the MVRA authorizes restitution in an amount equal to “the greater of . . .


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the value of the property on the date of . . . loss, or . . . the value of the property on the date of

sentencing.” See 18 U.S.C. §§ 3663A(b)(1). 3

         The record before the Court makes clear that Congresswoman Greene did not suffer a

loss of property, as contemplated by the MVRA, as a result of Defendant’s offenses. Rather,

Congresswoman Greene—or, more accurately, her campaign—expended money for personal

security enhancements. Controlling Second Circuit law makes clear that such an expenditure is

not a loss of property under § 3663A(b)(1). See Maynard, 743 F.3d at 380 (finding that “[t]he

only category of allowable expense in which . . . security . . . might be located is § 3663A(b)(4)”

before concluding that such expenses are not compensable under the MVRA). The Government,

in its briefing, (Dkt. No. 64, at 2), and at the restitution hearing, relied on United States v.

McNeil, 744 F. App’x 941 (6th Cir. 2018), for the proposition that “costs of . . . security systems

have been recognized as expenses for which restitution may be ordered under the MVRA.”

McNeil, however, is an unpublished, out-of-circuit decision that did not consider the question at

issue here—whether the expenses sought are compensable under the MVRA. See McNeil, 744 F.

App’x at 943–44. And the issue here was the precise issue addressed in Maynard: whether

expenditures for security measures are compensable under the MVRA given the exhaustive list

of compensable harms in § 3663A(b). See Maynard, 743 F.3d at 378, 382 (“The decisive issue

on this appeal is whether expenses other than those enumerated in § 3663A(b) are compensable

under the MVRA. We conclude they are not. . . . Because [private security] expenses . . . do not



3
 Section 3663A(b) contains three other categories of harms compensable under the MVRA. Two involve either bodily
injury or death, see id. §§ 3663A(b)(2), (3), and are plainly inapplicable here where no bodily injury or death occurred.
The third involves “necessary . . . expenses incurred during participation in the investigation or prosecution of the
offense or attendance at proceedings related to the offense.” Id. § 3663A(b)(4). The Government does not argue that
the expenses at issue are compensable under that subsection, and any such argument would be unavailing because the
personal security measures “served no investigatory purpose” and were therefore “not necessary to the investigation
or prosecution of the offense.” See Maynard, 743 F.3d at 381–82.



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fall within [any] of the . . . categories of harm enumerated in § 3663A(b), restitution for these

expenses was improper.”) This Court is bound by Maynard. Thus, the Court concludes that

because Congress did not provide authority for this Court to award the expenses sought for

personal security enhancements, these expenses are not compensable under § 3663A(b)(1) of the

MVRA. 4

         B.       Causation

         Even if the expenses for personal security enhancements for which Congresswoman

Greene seeks restitution were a compensable loss of property under the MVRA, Defendant

argues, the Government has not established that Defendant’s conduct was the direct and

proximate cause of that loss because she has been the subject of many threats from others before,

during, and after the proceedings against Defendant. (Dkt. No. 62, at 1–2; Dkt. No. 65, at 2–3;

Dkt. No. 79, at 1–3.) The Government argues that although Congresswoman Greene has been the

target of other threats, Defendant’s conduct was “the straw that broke the camel’s back.” (Dkt.

No. 64, at 2–3; Dkt. No. 76, at 3–4.)

         The MVRA requires that, where a defendant is convicted of an offense that is a “crime of

violence” as defined in 18 U.S.C. § 16 and “in which an identifiable victim . . . has suffered a

physical injury or pecuniary loss,” the court “shall order . . . that the defendant make restitution

to the victim of the offense.” 18 U.S.C. §§ 3663A(a)(1), (c)(1). The MVRA defines “victim” as

“a person directly and proximately harmed as a result of the commission of an offense for which

restitution may be ordered.” 18 U.S.C. 3663A(a)(2). “Thus, in determining to whom a defendant

owes restitution, the statute requires the court (1) to identify the ‘offense’ of conviction and



4
 A court may also order restitution under 18 U.S.C. § 3663. See Maynard, 743 F.3d at 377. But the Government has
not sought restitution under § 3663. In any event, the Court notes that § 3363(b) contains the same list of compensable
expenses, with two inapplicable additions, as § 3663A(b).



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(2) to ascertain whether the putative ‘victim’ was ‘directly and proximately harmed’ by the

defendant’s commission of that ‘offense.’” United States v. Goodrich, 12 F.4th 219, 228 (2d Cir.

2021).

         In evaluating causation, the MVRA’s command that the “offense” of conviction must

have “directly and proximately harmed” the victim requires the court to determine whether the

defendant’s offense was both the “cause-in-fact and proximate cause” of the victim’s harm. See

Goodrich, 12 F.4th at 229 (citing Robers v. United States, 572 U.S. 639, 645 (2014)); United

States v. Marino, 654 F.3d 310, 323 (2d Cir. 2011)). For the defendant’s offense to have been the

cause-in-fact of the victim’s harm, “the defendant’s conduct must have been a necessary factor in

bringing about the victim’s harm,” Goodrich, 12 F.4th at 229 (citing Marino, 654 F.3d at 322),

or, in other words, “but for” the defendant’s offense, the harm to the victim would not have

occurred, see Marino, 654 F.3d at 322. “Regarding proximate cause, the Supreme Court has

distilled the principle as follows: ‘The basic question . . . is whether the harm alleged has a

sufficiently close connection to the conduct,’ which we evaluate based on whether that harm was

‘foreseeable’ to a defendant.” Goodrich, 12 F.4th at 229 (quoting Robers, 572 U.S. at 645). That

is, the court must “assess[] the proximate cause requirement under a ‘foreseeab[ility]’ standard,”

analyzing the record to determine whether the defendant “could have foreseen the extent of

losses that the [defendant’s conduct] was incurring.” See id. (second alteration in original)

(quoting Marino 654 F.3d at 323). “A requirement of proximate cause thus serves, inter alia, to

preclude liability in situations where the causal link between conduct and result is so attenuated

that the consequence is more aptly described as mere fortuity.” Paroline, 572 U.S. at 445 (citing

Exxon Co., U.S.A. v. Sofec, Inc., 517 U.S. 830, 838–839 (1996)).




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         At the outset, the Court notes the temporal dissonance between the Defendant’s offenses

(and subsequent release on pretrial conditions) and the personal security enhancements for which

restitution is sought. See Marino, 654 F.3d at 319 (“Restitution should not lie if the conduct

underlying the offense of conviction is too far removed . . . temporally[] from the loss.” (quoting

United States v. Vaknin, 112 F.3d 579, 589 (1st Cir. 1997)). Defendant’s offenses of conviction

occurred on March 3, 2022, and Defendant was released from custody on pretrial conditions on

March 22, 2022. But Congresswoman Greene did not contact Echo Technologies until

September 2022 and Bartow Fence until October 2022. Mr. Loudermilk suggested that this delay

may have been a result of her staff researching whether campaign funds could be used to pay for

personal security enhancements. But Mr. Loudermilk testified that her staff did not begin

researching that issue until May or June 2022. 5

         Ultimately, there was a delay of between six and seven months between Defendant’s

offenses (and his subsequent release on pretrial conditions) and the dates the expenses were

incurred: the security-camera reconfiguration was not undertaken until September 2022, and an

estimate for construction of the fence was not produced until October 2022.

         Furthermore, Defendant presented numerous instances of other threats, including direct

death threats, beginning as early as September 23, 2020, nearly a year and a half before

Defendant’s offenses, and continuing until at least February 2023, nearly a year after Defendant

was released from custody on pretrial conditions. Congresswoman Greene’s social media posts

about the frequency with which she received threats are corroborated by Mr. Loudermilk and Mr.

Willis, who each stated that she received multiple threats every day. In addition, there were two



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  Mr. O’Brien testified that he found the relevant Federal Election Commission advisory opinion in a quick internet
search. The Government did not respond to this point. In any event, a finding on that issue is not necessary to resolve
the causation issue here.



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other criminal proceedings, in addition to Defendant’s, involving specific threats against

Congresswoman Greene. The Colorado proceeding involved an indictment in August 2022—one

month before Congresswoman Greene began making enhancements to her Georgia residence’s

security system. Although Mr. Loudermilk testified that Defendant’s offenses were more

concerning because they were specific to Congresswoman Greene while the Colorado defendant

threatened multiple Representatives, Mr. Loudermilk also testified that he, and therefore

Congresswoman Greene, was unaware at the time of the indictment in that case that anyone other

than Congresswoman Greene had been threatened. 6

         The Court has carefully considered the testimony of Mr. Loudermilk. But even crediting

that testimony, in light of the delay in undertaking the personal security enhancements at issue

here, the volume of threats Congresswoman Greene received, and the other specific incidents

involving her—including the incident involving the individual leaving an unsolicited package at

her Georgia residence and at least one other direct threat and subsequent criminal proceeding that

occurred the month immediately preceding the month in which she undertook the personal

security enhancements—the Government has not established by a preponderance of the evidence

that Defendant’s offenses were the direct and proximate cause of Congresswoman Greene’s

personal security expenditures. That is, the Government has failed to establish by a



6
  The Government argues that these other threats do not demonstrate a lack of causation and render restitution
unavailable because, under Paroline, 572 U.S. at 458–59, restitution is proper “where a defendant caused harm, but
there was also continual harm by others.” (Dkt. No. 76, at 3.) But Paroline dealt specifically with an order of restitution
not under the MVRA but under a wholly separate statute, 18 U.S.C. § 2259, which is applicable only to orders of
restitution in cases involving certain offenses of sexual exploitation and other abuses of children. See 18 U.S.C.
§ 2259(a); see also Paroline, 572 U.S. at 458 (“In this special context, . . . a court applying § 2259 should order
restitution in an amount that comports with the defendant’s relative role in the causal process that underlies the victim’s
general losses.” (emphasis added)). That statute does not include a requirement that the offense be the direct, “but for”
cause of the victim’s loss, see Paroline, 572 U.S. at 457; 18 U.S.C. § 2259(c)(4), as does the MVRA, see Goodrich,
12 F.4th 219, 228; 18 U.S.C. § 3663A(2). Nor does § 2259 contain the same exhaustive list of compensable harms as
does the MVRA. See 18 U.S.C. § 2259(c)(2); id. § 3663A(b). Thus, the Government’s argument based on Paroline is
unpersuasive.



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preponderance of the evidence that Defendant’s “conduct [was] a necessary factor in bringing

about” Congresswoman Greene’s expenditures for personal security enhancements, see

Goodrich, 12 F.4th at 229, or that “but for” Defendant’s offenses of conviction, she would not

have undertaken the personal security enhancements, see Marino, 654 F.3d at 322. And the

Government has failed to establish by a preponderance of the evidence that her expenditures bear

“a sufficiently close connection to” Defendant’s offenses of conviction, see Goodrich, 12 F.4th

at 229 (quoting Robers, 572 U.S. at 645), such that “the causal link” between Defendant’s

conduct and Congresswoman Greene’s expenditures is not “attenuated,” see Paroline, 572 U.S.

at 445. Accordingly, restitution would be improper under 18 U.S.C. § 3663A. See Goodrich, 12

F.4th at 229; Marino, 654 F.3d at 322.

IV.    CONCLUSION

       For these reasons, it is hereby

       ORDERED that the request for restitution is DENIED.

       IT IS SO ORDERED.

Dated: November 14, 2023
       Syracuse, New York




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